 Case 19-24666-KCF                        Doc 67 Filed 06/23/21 Entered 06/24/21 00:28:44                            Desc Imaged
                                               Certificate of Notice Page 1 of 6

Information to identify the case:
Debtor 1
                       Karen Calandriello                                          Social Security number or ITIN   xxx−xx−4359
                                                                                   EIN _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                       First Name     Middle Name     Last Name
(Spouse, if filing)                                                                EIN _ _−_ _ _ _ _ _ _

United States Bankruptcy Court       District of New Jersey

Case number:          19−24666−KCF

Order of Discharge                                                                                                                12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

             Karen Calandriello


             6/18/21                                                       By the court: Kathryn C. Ferguson
                                                                                         United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                            This order does not prevent debtors from paying
and it does not determine how much money, if                              any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                      debts according to the reaffirmation agreement.
                                                                          11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                 Most debts are discharged
attempt to collect a discharged debt from the                             Most debts are covered by the discharge, but not
debtors personally. For example, creditors                                all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                           personal liability for debts owed before the
or otherwise try to collect from the debtors                              debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                          Also, if this case began under a different chapter
in any attempt to collect the debt personally.                            of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                          to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                               are discharged.

However, a creditor with a lien may enforce a                             In a case involving community property: Special
claim against the debtors' property subject to that                       rules protect certain community property owned
lien unless the lien was avoided or eliminated.                           by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                             not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                       For more information, see page 2 >




Official Form 318                                             Order of Discharge                                     page 1
 Case 19-24666-KCF           Doc 67 Filed 06/23/21 Entered 06/24/21 00:28:44               Desc Imaged
                                  Certificate of Notice Page 2 of 6




Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2
      Case 19-24666-KCF                      Doc 67 Filed 06/23/21 Entered 06/24/21 00:28:44                                             Desc Imaged
                                                  Certificate of Notice Page 3 of 6
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 19-24666-KCF
Karen Calandriello                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Jun 21, 2021                                               Form ID: 318                                                              Total Noticed: 76
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 23, 2021:
Recip ID                   Recipient Name and Address
db                         Karen Calandriello, 463 Mamie Dr, Brick, NJ 08723-6473
518377026                  AES/PHEAA, Attn: Bankruptcy, PO Box 2461, Harrisburg, PA 17105-2461
518377028                  AR Resources Inc, PO Box 1056, Blue Bell, PA 19422-0287
518377025                  Aaron's Sales & Lease, Attn: Bankruptcy, PO Box 100039, Kennesaw, GA 30156-9239
518377027                  Alpha Recovery Corporation, 6912 S Quentin St Ste 10, Centennial, CO 80112-4531
518377029              +   Arronrnts, 309 E Paces Ferry Rd NE, Atlanta, GA 30305-2377
518377031                  Barron Emergency Physician, PO Box 7418, Philadelphia, PA 19101-7418
518377038                  Ccs/First National Ban, 500 E 60th St N, Sioux Falls, SD 57104-0478
518377039            ++    FIRST SAVINGS BANK, PO BOX 5096, SIOUX FALLS SD 57117-5096 address filed with court:, Ccs/First Savings Bank, 500 E 60th
                           St N, Sioux Falls, SD 57104-0478
518377052                  First Nataional Bank/Legacy, Attn: Bankruptcy, PO Box 5097, Sioux Falls, SD 57117-5097
518377053                  First Savings Credit Card, Attn: Bankruptcy Department, PO Box 5019, Sioux Falls, SD 57117-5019
518377054                  Fncc, 500 E 60th St N, Sioux Falls, SD 57104-0478
518377065                  Phelan Hallinan Diamond & Jones, 1617 John F Kennedy Blvd Ste 1400, Philadelphia, PA 19103-1814
518377067                  Select Portfolio Servicing, 3217 Decker Lake Dr, Salt Lake City, UT 84119-3284
518500203                  The Bank of New York Mellon as Trustee, c/o Select Portfolio Servicing, Inc., P.O. Box 65250, Salt Lake City, UT 84165-0250
518377076              +   Thrift Investment Corp, 720 King George Rd, Fords, NJ 08863-1985
518377075              +   Thrift Investment Corp, Attn: Bankruptcy Department, 720 King George Rd, Fords, NJ 08863-1985
518461005              +   Wells Fargo Bank N.A., d/b/a Wells Fargo Auto, PO Box 130000, Raleigh, 27605, NC 27605-1000
518377081                  Wells Fargo Dealer Svc, PO Box 10709, Raleigh, NC 27605-0709

TOTAL: 19

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Jun 21 2021 20:57:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Jun 21 2021 20:57:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
518377030                  EDI: CAPIO.COM
                                                                                        Jun 22 2021 00:53:00      Assetcarellc/capiopart, 2222 Texoma Pkwy Ste
                                                                                                                  180, Sherman, TX 75090-2484
518377037                  EDI: CITICORP.COM
                                                                                        Jun 22 2021 00:48:00      Cbna, 50 NW Point Blvd, Elk Grove Village, IL
                                                                                                                  60007-1032
518377032                  EDI: CAPITALONE.COM
                                                                                        Jun 22 2021 00:48:00      Capital One, Attn: Bankruptcy, PO Box 30285,
                                                                                                                  Salt Lake City, UT 84130-0285
518377033                  EDI: CAPITALONE.COM
                                                                                        Jun 22 2021 00:48:00      Capital One, PO Box 30253, Salt Lake City, UT
                                                                                                                  84130-0253
518377034                  EDI: CAPONEAUTO.COM
                                                                                        Jun 22 2021 00:53:00      Capital One Auto Finan, PO Box 259407, Plano,
                                                                                                                  TX 75025-9407
518377035                  EDI: CAPONEAUTO.COM
                                                                                        Jun 22 2021 00:53:00      Capital One Auto Finance, Attn: Bankruptcy, PO
                                                                                                                  Box 30285, Salt Lake City, UT 84130-0285
     Case 19-24666-KCF              Doc 67 Filed 06/23/21 Entered 06/24/21 00:28:44                                     Desc Imaged
                                         Certificate of Notice Page 4 of 6
District/off: 0312-3                                        User: admin                                                          Page 2 of 4
Date Rcvd: Jun 21, 2021                                     Form ID: 318                                                       Total Noticed: 76
518392446        + EDI: AIS.COM
                                                                           Jun 22 2021 00:48:00   Capital One Bank (USA), N.A., 4515 N Santa Fe
                                                                                                  Ave, Oklahoma City, OK 73118-7901
518377036          EDI: CAPITALONE.COM
                                                                           Jun 22 2021 00:48:00   Capital One Bank USA N, PO Box 30281, Salt
                                                                                                  Lake City, UT 84130-0281
518377040          Email/Text: bankruptcy@certifiedcollection.com
                                                                           Jun 21 2021 20:57:00   Certified Credit & Collection Bureau, PO Box
                                                                                                  1750, Whitehouse Station, NJ 08889-1750
518377041          EDI: CITICORP.COM
                                                                           Jun 22 2021 00:48:00   Citibank North America, Citibank
                                                                                                  Corp/Centralized Bankruptcy, PO Box 790034,
                                                                                                  Saint Louis, MO 63179-0034
518490463          EDI: CITICORP.COM
                                                                           Jun 22 2021 00:48:00   Citibank, N.A., 5800 S Corporate Pl, Sioux Falls,
                                                                                                  SD 57108-5027
518377042          EDI: COMCASTCBLCENT
                                                                           Jun 22 2021 00:48:00   Comcast, PO Box 1577, Newark, NJ 07101-1577
518377043          EDI: WFNNB.COM
                                                                           Jun 22 2021 00:48:00   Comenity Bank/Mandees, Attn: Bankruptcy, PO
                                                                                                  Box 182125, Columbus, OH 43218-2125
518377044          EDI: WFNNB.COM
                                                                           Jun 22 2021 00:48:00   Comenity Bank/Roamans, Attn: Bankruptcy, PO
                                                                                                  Box 182125, Columbus, OH 43218-2125
518377045          EDI: WFNNB.COM
                                                                           Jun 22 2021 00:48:00   Comenity Bank/Roamans, PO Box 182789,
                                                                                                  Columbus, OH 43218-2789
518377046        + EDI: CONVERGENT.COM
                                                                           Jun 22 2021 00:48:00   Convergent, 800 SW 39th St, Renton, WA
                                                                                                  98057-4927
518377047          Email/PDF: creditonebknotifications@resurgent.com
                                                                           Jun 22 2021 11:57:40   Credit One Bank, ATTN: Bankruptcy Department,
                                                                                                  PO Box 98873, Las Vegas, NV 89193-8873
518377048          Email/PDF: creditonebknotifications@resurgent.com
                                                                           Jun 21 2021 21:07:46   Credit One Bank NA, PO Box 98875, Las Vegas,
                                                                                                  NV 89193-8875
518377049          EDI: DCI.COM
                                                                           Jun 22 2021 00:53:00   Diversified Consultant, PO Box 551268,
                                                                                                  Jacksonville, FL 32255-1268
518377050          EDI: BLUESTEM
                                                                           Jun 22 2021 00:48:00   Fingerhut, PO Box 166, Newark, NJ 07101-0166
518377051          EDI: BLUESTEM
                                                                           Jun 22 2021 00:48:00   Fingerhut, Attn: Bankruptcy, PO Box 1250, Saint
                                                                                                  Cloud, MN 56395-1250
518443160        + EDI: CBS7AVE
                                                                           Jun 22 2021 00:53:00   Ginny's, c/o Creditors Bankruptcy Service, P.O.
                                                                                                  Box 800849, Dallas, TX 75380-0849
518377055          EDI: CBS7AVE
                                                                           Jun 22 2021 00:53:00   Ginny's, 1112 7th Ave, Monroe, WI 53566-1364
518377056          EDI: IRS.COM
                                                                           Jun 22 2021 00:48:00   Internal Revenue Service, PO Box 7346, Special
                                                                                                  Procedures Branch, Bky Sec., Philadelphia, PA
                                                                                                  19101-7346
518377057          EDI: JEFFERSONCAP.COM
                                                                           Jun 22 2021 00:48:00   Jefferson Capital Syst, 16 McLeland Rd, Saint
                                                                                                  Cloud, MN 56303-2198
518448380          EDI: JEFFERSONCAP.COM
                                                                           Jun 22 2021 00:48:00   Jefferson Capital Systems LLC, Po Box 7999,
                                                                                                  Saint Cloud Mn 56302-9617
518470334          Email/PDF: resurgentbknotifications@resurgent.com
                                                                           Jun 22 2021 11:58:32   LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                  PO Box 10587, Greenville, SC 29603-0587
518416217          Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                           Jun 22 2021 11:57:40   MERRICK BANK, Resurgent Capital Services,
                                                                                                  PO Box 10368, Greenville, SC 29603-0368
518377058          Email/Text: ml-ebn@missionlane.com
                                                                           Jun 21 2021 20:55:00   Lendup Card Services, Attn: Bankruptcy Dept,
                                                                                                  237 Kearny St # 197, San Francisco, CA
                                                                                                  94108-4502
518377059          Email/Text: ml-ebn@missionlane.com
                                                                           Jun 21 2021 20:55:00   Lendup/Tab Bank, 225 Bush St, San Francisco,
                                                                                                  CA 94104-4215
518377060          EDI: WFNNB.COM
                                                                           Jun 22 2021 00:48:00   Mandees, 401 Hackensack Ave, Hackensack, NJ
                                                                                                  07601-6411
     Case 19-24666-KCF              Doc 67 Filed 06/23/21 Entered 06/24/21 00:28:44                                     Desc Imaged
                                         Certificate of Notice Page 5 of 6
District/off: 0312-3                                       User: admin                                                           Page 3 of 4
Date Rcvd: Jun 21, 2021                                    Form ID: 318                                                        Total Noticed: 76
518377061          Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                            Jun 21 2021 21:07:36   Merrick Bank Corp, PO Box 9201, Old Bethpage,
                                                                                                   NY 11804-9001
518377062          Email/PDF: MerrickBKNotifications@Resurgent.com
                                                                            Jun 21 2021 21:06:59   Merrick Bank/Cardworks, Attn: Bankruptcy, PO
                                                                                                   Box 9201, Old Bethpage, NY 11804-9001
518377063          Email/Text: OMCbankruptcy@hackensackmeridian.org
                                                                            Jun 21 2021 20:58:00   Ocean Medical Center, PO Box 4171401 Meridian
                                                                                                   Health, Boston, MA 02241-7140
518377064          Email/Text: OMCbankruptcy@hackensackmeridian.org
                                                                            Jun 21 2021 20:58:00   Ocean Medical Center, PO Box 417140, Boston,
                                                                                                   MA 02241-7140
518499270          EDI: PRA.COM
                                                                            Jun 22 2021 00:48:00   Portfolio Recovery Associates, LLC, c/o Ebay,
                                                                                                   POB 41067, Norfolk VA 23541
518424826          EDI: Q3G.COM
                                                                            Jun 22 2021 00:48:00   Quantum3 Group LLC as agent for, CF Medical
                                                                                                   LLC, PO Box 788, Kirkland, WA 98083-0788
518377066          Email/Text: Supportservices@receivablesperformance.com
                                                                            Jun 21 2021 20:58:00   Receivables Performanc, 20816 44th Ave W,
                                                                                                   Lynnwood, WA 98036-7744
518377069          EDI: AISSPRINT
                                                                            Jun 22 2021 00:48:00   Sprint PCS, 6391 Sprint Parkway, Overland Park,
                                                                                                   KS 66251
518443159        + EDI: CBS7AVE
                                                                            Jun 22 2021 00:53:00   Seventh Avenue, c/o Creditors Bankruptcy
                                                                                                   Service, P.O. Box 800849, Dallas, TX 75380-0849
518377068          EDI: CBS7AVE
                                                                            Jun 22 2021 00:53:00   Seventh Avenue, 1112 7th Ave, Monroe, WI
                                                                                                   53566-1364
518429262        + EDI: CBSMASON
                                                                            Jun 22 2021 00:48:00   Stoneberry, c/o Creditors Bankruptcy Service, P O
                                                                                                   Box 800849, Dallas, TX 75380-0849
518377070        + EDI: CBSMASON
                                                                            Jun 22 2021 00:48:00   Stoneberry, 1356 William Street, Chippewa Falls,
                                                                                                   WI 54729-1500
518377072          EDI: RMSC.COM
                                                                            Jun 22 2021 00:48:00   Syncb/Walmart, PO Box 965024, Orlando, FL
                                                                                                   32896-5024
518377071          EDI: RMSC.COM
                                                                            Jun 22 2021 00:48:00   Syncb/ppxtrm, PO Box 965005, Orlando, FL
                                                                                                   32896-5005
518378770        + EDI: RMSC.COM
                                                                            Jun 22 2021 00:48:00   Synchrony Bank, c/o of PRA Receivables
                                                                                                   Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                   23541-1021
518377073          EDI: RMSC.COM
                                                                            Jun 22 2021 00:48:00   Synchrony Bank/Gap, Attn: Bankruptcy Dept, PO
                                                                                                   Box 965060, Orlando, FL 32896-5060
518377074          EDI: RMSC.COM
                                                                            Jun 22 2021 00:48:00   Synchrony Bank/Walmart, Attn: Bankruptcy, PO
                                                                                                   Box 965060, Orlando, FL 32896-5060
518482837        + EDI: AIS.COM
                                                                            Jun 22 2021 00:48:00   Verizon, by American InfoSource as agent, 4515
                                                                                                   N Santa Fe Ave, Oklahoma City, OK 73118-7901
518377077          EDI: VERIZONCOMB.COM
                                                                            Jun 22 2021 00:48:00   Verizon, 3601 Converse Dr, Wilmington, NC
                                                                                                   28403-6182
518377078          EDI: BLUESTEM
                                                                            Jun 22 2021 00:48:00   Webbank/fingerhut, 6250 Ridgewood Rd, Saint
                                                                                                   Cloud, MN 56303-0820
518377079          EDI: WFFC.COM
                                                                            Jun 22 2021 00:48:00   Wells Fargo Dealer Services, Attn: Bankruptcy,
                                                                                                   PO Box 19657, Irvine, CA 92623-9657
518377080          EDI: WFFC.COM
                                                                            Jun 22 2021 00:48:00   Wells Fargo Dealer Svc, PO Box 1697,
                                                                                                   Winterville, NC 28590-1697
518377082          Email/Text: bankruptcynotice@westlakefinancial.com
                                                                            Jun 21 2021 20:57:00   Westlake Financial Services, Attn: Bankruptcy,
                                                                                                   PO Box 76809, Los Angeles, CA 90076-0809
518377083        + Email/Text: bankruptcynotice@westlakefinancial.com
                                                                            Jun 21 2021 20:57:00   Westlake Financial Svc, 4751 Wilshire Blvd Ste 1,
                                                                                                   Los Angeles, CA 90010-3847

TOTAL: 57
       Case 19-24666-KCF                     Doc 67 Filed 06/23/21 Entered 06/24/21 00:28:44                                       Desc Imaged
                                                  Certificate of Notice Page 6 of 6
District/off: 0312-3                                                 User: admin                                                             Page 4 of 4
Date Rcvd: Jun 21, 2021                                              Form ID: 318                                                          Total Noticed: 76

                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID            Bypass Reason Name and Address
lm                  *+            Select Portfolio Servicing, 3217 Decker Lake Drive, Salt Lake City, UT 84119-3284

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 23, 2021                                           Signature:          /s/Joseph Speetjens




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 18, 2021 at the address(es) listed below:
Name                                Email Address
Albert Russo
                                    on behalf of Trustee Albert Russo docs@russotrustee.com

Andrew M. Lubin
                                    on behalf of Loss Mitigation Select Portfolio Servicing bkecf@milsteadlaw.com alubin@milsteadlaw.com

Andrew M. Lubin
                                    on behalf of Creditor The Bank of New York Mellon as Trustee for CWABS Inc. Asset-Backed Certificates, Series 2006-8
                                    bkecf@milsteadlaw.com, alubin@milsteadlaw.com

Barry Frost
                                    trustee@teichgroh.com NJ94@ecfcbis.com;frost@remote7solutions.com

Daniel E. Straffi
                                    on behalf of Debtor Karen Calandriello bkclient@straffilaw.com
                                    G25938@notify.cincompass.com;familyclient@straffilaw.com;bktrustee@straffilaw.com

U.S. Trustee
                                    USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 6
